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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
PAMELLA CORTES, LETICIA GONZALEZ, and
ARIANA REYES, on behalf of themselves and others
similarly situated,                                                 Case No. 1:17-CV-03942

                                               Plaintiffs,
                        -against-

JUQUILA MEXICAN CUISINE CORP. d/b/a JUQUILA
MEXICAN CUISINE, JUQUILA KITCHEN AND BAR
CORP. d/b/a JUQUILA KITCHEN & BAR, TEOFILA
MENDEZ, and CRISTOBAL BONILLA,

                                               Defendants.

              MEMORANDUM OF LAW IN SUPPORT OF THE MOTION TO
              WITHDRAW AS COUNSEL OF RECORD FOR DEFENDANTS

        Pursuant to Eastern District of New York Local Civil Rule 1.4, the Law Offices of Martin E.

Restituyo, P.C. (“Defendants’ Counsel”) hereby submits this memorandum of law in support of its

motion for an order permitting it to withdraw as counsel of record for defendants Juquila Mexican

Cuisine Corp., Teofila Mendez, and Cristobal Bonilla, (collectively, “Defendants”), on the grounds

of divergent and irreconcilable views regarding the litigation strategy to employ in this matter and

because of expected non-payment. Defendants’ counsel has not made a previous application for

similar relief.

                                         BACKGROUND

        Defendant’s Counsel assumes that the Court is familiar with the facts of this case and refers

the Court to the Declaration of Martin E. Restituyo, Esq. to augment that familiarity.

                                          ARGUMENT

        An order permitting the withdrawal of counsel of record may be granted “upon a showing by

affidavit or otherwise of satisfactory reasons for withdrawal…” E.D.N.Y. Local Rule 1.4. Here, such

satisfactory reasons plainly exist and withdrawal should be permitted. Accordingly, Defendants’
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Counsel seeks permission to withdraw from the representation of Defendants Juquila Mexican

Cuisine Corp., Teofila Mendez, and Cristobal Bonilla in this matter because of divergent and

irreconcilable views regarding the litigation strategy to employ in this matter and non-payment of

fees.

        Pursuant to New York Rules of Professional Conduct Rule 1.16(c)(7), a lawyer may

withdraw where “the client fails to cooperate in the representation or otherwise renders the

representation unreasonably difficult for the lawyer to carry out employment effectively.” “‘[T]he

existence of an irreconcilable conflict between attorney and client is a proper basis for the attorney to

cease representing his client.’” Bijan Karimian v. Time Equities, Inc., No. 10 Civ. 3773, 2011 U.S.

Dist. LEXIS 51916, at *4- *5 (S.D.N.Y. May 11, 2011) (citations omitted); Dowler v. Cunard Line

Ltd., No. 94 Civ. 7480, 1996 U.S. Dist. LEXIS 9100 (S.D.N.Y. June 28, 1996) (permitting

withdrawal on the grounds that “strong evidence of a strained attorney-client relationship regardless

of the source of the strain is sufficient grounds” for an attorney to withdraw); McGuire v. Wilson,

735 F. Supp. 83, 85 (S.D.N.Y. 1990) (allowing attorney to withdraw because “relationship between

the parties has deteriorated beyond repair”); Hallmark Capital Corp. v. Red Rose Collection, No.

1997 U.S. Dist. LEXIS 16328, at *8-*9 (S.D.N.Y. Oct. 21, 1997) (“[T]he client and counsel have

irreconcilable differences, that is a satisfactory reason to allow counsel to withdraw.”). Withdrawal

has been permitted where “an irreconcilable conflict [] developed between [counsel and client]

regarding litigation strategy.” Hallmark Capital Corp., 1997 U.S. Dist. LEXIS 16328 (quoting

Tufano v. City of New York, No. 94 Civ. 8655, 1996 WL 419912 at *1 (S.D.N.Y. July 25, 1996);

citing Sansiviero v. Sanders, 117 A.D.2d 794, 795, 499 N.Y.S.2d 431, 431 (2d Dep't) (motion to

withdraw granted in “light of the irreconcilable differences between” counsel and his client “with

respect to the proper course to be pursued by counsel in the litigation”); see also Casper v. Lew
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Lieberbaum & Co., 1999 U.S. Dist. LEXIS 7779 (S.D.N.Y. May 24, 1999) (permitting withdrawal

where plaintiffs and original counsel disagreed about litigation strategy, the value of the case, [and]

the strength of the case”). Furthermore, “counsel ethically can withdraw where the client insists upon

a course of conduct that is contrary to the judgment and advice of counsel.” Ashcroft v. Dep’t of

Corr., 2008 U.S. Dist. LEXIS 73624, 14-16 (W.D.N.Y. Sept. 18, 2008) (citing N.Y.S. Code of Prof.

Responsibility, EC 7-8). As detailed herein Defendants and Defendants’ Counsel have diverging and

irreconcilable litigation strategies.

        The Second Circuit has also acknowledged that “where the client ‘deliberately disregarded’

financial obligations,” nonpayment of legal fees “may constitute ‘good cause’ to withdraw.” United

States v. Parker, 439 F.3d 81, 104 (2d Cir. 2006) (quoting McGuire v. Wilson, 735 F. Supp. 83, 84

(S.D.N.Y. 1990) and N.Y. Code of Prof’l Responsibility D.R. 2-110(C)(a)(f)). Similarly, this Court

consistently has found the failure to pay legal fees to be a legitimate ground for granting a motion to

withdraw as counsel. See, e.g., Blue Angel Films, Ltd. v. First Look Studios, Inc., No. 08 Civ. 6469

(DAB) (JCF), 2011 U.S. Dist. LEXIS 16674, at *7-8 (S.D.N.Y. Feb. 17, 2011) (“Although there is

no clear standard for what may be considered a ‘satisfactory reason’ for allowing a withdrawal, it

seems evident that the non-payment of legal fees constitutes such a reason.”); Diarama Trading Co.,

Inc. v. J. Walter Thompson U.S.A., Inc., No. 01 Civ. 2950 (DAB), 2005 U.S. Dist. LEXIS 17008, at

*1 (S.D.N.Y. Aug. 15, 2005) (“‘Satisfactory reasons include failure to pay legal fees.”)(internal

citations omitted); Cower v. Albany Law Sch. of Union Univ., No. 04 Civ. 0643 (DAB), 2005 U.S.

Dist. LEXIS 13669, at *16 (S.D.N.Y. July 8, 2005) (“It is well settled that nonpayment of fees is a

legitimate ground for granting counsel's motion to withdraw.”) (citation omitted); HCC, Inc. v. R H

& M Mach. Co., No. 96 Civ. 4920 (PKL), 1998 U.S. Dist. LEXIS 10977, at *1 (S.D.N.Y. July 20,

1998) (“It is well-settled that non-payment of fees is a valid basis for granting counsel’s motion to
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withdraw.”); WABC-AM Radio, Inc. v. Vlahos, 89 Civ. 1645, 1992 WL 276550, at *1-2 (S.D.N.Y.

Sept. 29, 1992) (granting motions to withdraw on ground of client's failure to pay fees even if this

would cause a delay in the litigation). Defendants have made it clear that they will not pay for any

subsequent legal work Defendants’ Counsel would perform on Defendants’ behalf and Defendants’

Counsel should not expect to be compensated for work done throughout the case.

         Accordingly, courts regularly grant counsel’s motion for leave to withdraw where, as here,

Defendants and their counsel have diverging and irreconcilable views with respect to the appropriate

strategy to employ in this litigation and the resources which must be devoted in defense of this

lawsuit.

         Thus, for the reasons indicated above, Defendants’ Counsel’s motion to be relieved as

counsel of record for the Defendants should be granted.

                                           CONCLUSION

         For all the foregoing reasons, Defendants’ Counsel. respectfully requests that the Court enter

an order permitting it to withdraw as representatives of Defendants in this action.

Dated:     New York, New York
           August 17, 2018

                                                       /s/Martin E. Restituyo
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